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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TYLER TECHNOLOGIES, INC., §
§
Plaintiff, §
§
v. § CIVIL ACTION NO. 3-06-cv-1693-P
§ ECF
VIRTUAL IMPACT PRODUCTIONS, INC., §
§
Defendant. §

ORDER

Currently pending before the Court is Plaintiff's Motion for Leave to Amend Its
Complaint and Add Parties. Having considered the merits of the Motion, the Court finds the
requested relief is warranted. Therefore, the Motion is GRANTED.

It is so ordered this day of , 2007.

Jorge A. Solis
United States District Judge

ORDER—Solo Page
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